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1
2    Andrew M. Wagley, ISB #10277
3    Samir Dizdarevic-Miller, ISB #11471
4    ETTER, McMAHON, LAMBERSON,
5
     VAN WERT & ORESKOVICH, P.C.
     618 W. Riverside Avenue, Suite 210
6
     Spokane, WA 99201
7    Phone: 509-747-9100
8    Fax:   509-623-1439
9    Attorneys for Plaintiff
10
11
                           UNITED STATES DISTRICT COURT
12                     DISTRICT OF IDAHO (NORTHERN DIVISION)
13
14   CODY J. SCHUELER, an individual,
15
                           Plaintiff,               Case No. 2:22-cv-00389-DCN
16
17        v.
18                                                  PLAINTIFF CODY
19   FOUR SQUAREBIZ, LLC, a                         SCHUELER’S MOTION TO
20   Wyoming limited liability company,             STRIKE DEFENDANT MICAH
     KEITH O. CREWS, an individual and              EIGLER’S ANSWER
21
     the associated marital community,
22   MICAH EIGLER, an individual and
23   the associated marital community, and
24   JOHN AND JANE DOES 1-10,
25
26
                           Defendants.
27
28        COMES NOW, Plaintiff CODY J. SCHUELER, by and through his
29
30   attorneys of record, Andrew M. Wagley and Samir Dizdarevic-Miller of Etter,
31
     McMahon, Lamberson, Van Wert & Oreskovich, P.C., and hereby respectfully
32


       Plaintiff Cody Schueler’s Motion to Strike    ETTER, MCMAHON, LAMBERSON,
       Defendant Micah Eigler’s Answer—Page 1        VAN WERT & ORESKOVICH, P.C.
                                                           618 WEST RIVERSIDE AVENUE, SUITE 210
                                                       SPOKANE, WASHINGTON 99201 (509) 747-9100
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1
     moves this Court for an Order striking Defendant Micah Eigler’s Answer as
2
3    insufficient. The Court possesses the authority to strike Mr. Eigler’s Answer
4
5
     pursuant to Fed. R. Civ. P. 12(f), for the Answer’s noncompliance with Fed. R.
6
     Civ. P. 8(b)’s requirements.               Mr. Schueler’s request is supported by the
7
8    accompanying Memorandum in Support of Plaintiff Cody Schueler’s Motion to
9
10   Strike Defendant Micah Eigler’s Answer.
11
          RESPECTFULLY SUBMITTED this 4th day of November, 2022.
12
13                                                  ETTER, McMAHON, LAMBERSON,
14                                                    VAN WERT & ORESKOVICH, P.C.
15
16
                                                    By: /s/ Andrew M. Wagley
17
                                                       Andrew M. Wagley, ISB #10277
18                                                     Samir Dizdarevic-Miller, ISB #11471
19                                                     Attorneys for Plaintiff
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       Plaintiff Cody Schueler’s Motion to Strike         ETTER, MCMAHON, LAMBERSON,
       Defendant Micah Eigler’s Answer—Page 2             VAN WERT & ORESKOVICH, P.C.
                                                                 618 WEST RIVERSIDE AVENUE, SUITE 210
                                                             SPOKANE, WASHINGTON 99201 (509) 747-9100
            Case 2:22-cv-00389-DCN Document 11 Filed 11/04/22 Page 3 of 3




1
                                  DECLARATION OF SERVICE
2
3         The undersigned certifies, under penalty of perjury of the laws of the State
4
5
     of Washington, that I am now and at all times herein, a resident of the State of
6
     Washington, over the age of eighteen years, not a party to or interested in the
7
8    above-entitled action, and competent to be a witness herein. On the date given
9
10   below, I caused to be served in the manner noted copies of the foregoing
11
     document upon the following parties:
12
13     Keith O. Crews                               U.S. Mail, postage prepaid
14     1503 Scenic Overlook                         Facsimile
15     Court                                        E-Mail - via WA Courts
16
       Kennesaw, GA 30152                           Via Hand Delivery
17
       Micah Eigler                                 U.S. Mail, postage prepaid
       6208 Enfield Avenue                          Facsimile
18
       Los Angeles, CA 91316                        E-Mail - via WA Courts
19
                                                    Via Hand Delivery
20
       Four SquareBiz, LLC                          U.S. Mail, postage prepaid
21     c/o Registered Agents Inc.                   Facsimile
22     30 N. Gould Street, Suite R                  E-Mail - via WA Courts
23     Sheridan, WY 82801                           Via Hand Delivery
24
25
26
          EXECUTED this 4th day of November, 2022 in Spokane, Washington.
27
28                         By:/s/ Jodi Dineen
29                           Jodi Dineen
30
31
32


       Plaintiff Cody Schueler’s Motion to Strike       ETTER, MCMAHON, LAMBERSON,
       Defendant Micah Eigler’s Answer—Page 3           VAN WERT & ORESKOVICH, P.C.
                                                              618 WEST RIVERSIDE AVENUE, SUITE 210
                                                          SPOKANE, WASHINGTON 99201 (509) 747-9100
